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                                 LAW OFFICES
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                                                                      March 27, 2020


The Honorable P. Kevin Castel
United States District Judge                                                Application GRANTED.
Daniel Patrick Moynihan Federal Courthouse
500 Pearl Street                                                            SO ORDERED.
New York, NY 10007                                                          March 27, 2020.
Via ECF

       Re:     United States v. Jason Galanis, 15 Cr. 643 (PKC)

Dear Judge Castel,

        Your Honor recently rescheduled the sentencing of Mr. Galanis for July 24, 2020. Dkt.
527. I write at the request of Probation to respectfully request that the PSR final disclosure date
be adjourned until June 12, 2020.


       Thank you in advance for your consideration.

                                      Sincerely,



                                      Christopher Madiou



cc:    Brian Blais
       Assistant United States Attorney (by ECF)

       Tandis Farrence
       U.S. Probation Officer (by email)
